                                                                                         FILED
              Case 8:21-cr-00331-PX Document 17 Filed 01/16/24 Page 1 of 1U.S. DISTRICT COURT
                                                                                         DISTRICT OF MARYLAND
                                                                                            1/12/2024
                        IN THE UNITED STATES DISTRICT COURT
                                                                                         CLERK’S OFFICE
                           FOR THE DISTRICT OF MARYLAND
                                                                                         GREENBELT
                                                                                         BY H.E. DEPUTY CLERK
 UNITED STATES OF AMERICA                          *
                                                   *
         v.                                        *    CRIMINAL NO. PX-21-331
                                                   *
 JONATHAN CARTU ET AL.,                            *
                                                   *
       Defendants.                                 *
                                                   *
                                                   *
                                                *******

                                      MOTION TO UNSEAL

       The United States of America, by its attorneys, Erek L. Barron, United States Attorney for

the District of Maryland, and Patrick D. Kibbe, Assistant United States Attorney for said District,

moves this Honorable Court for an order unsealing the Indictment in the above-captioned matter.

The United States seeks to unseal the Indictment in this matter as to all defendants in order to

facilitate contact with the defendants, who are currently located outside of the United States and

to aid in the government’s efforts to bring these defendants to the United States.

       WHEREFORE, the Government requests that the Indictment and all other documents

filed in this action be unsealed until further order of the Court.



                                                             Respectfully submitted,

                                                             Erek L. Barron
                                                             United States Attorney


                                                       By:
                                                             Patrick D. Kibbe
                                                             Assistant United States Attorney


       ORDERED as prayed, this 12th day of January, 2024.

                                                   ______________________________
                                                   Honorable Ajmel A. Quereshi
                                                   United States Magistrate Judge
